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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

KATHY CLEMONS, INDIVIDUALLY,
AND AS GUARDIAN OF ELONA CLEMONS,
A MINOR AND KEONTRAY CLEMONS, A MINOR;
AND ON BEHALF OF ALL WRONGFUL DEATH
BENEFICIARIES OF TIARA RENEA CLEMONS,
DECEASED                                                                           PLAINTIFFS

VS.                                                       CAUSE NO.: 4:10-cv-209 CWR-FKB

THE UNITED STATES OF AMERICA                                                      DEFENDANT

consolidated with

KATHY CLEMONS, INDIVIDUALLY,
AND AS GUARDIAN OF ELONA CLEMONS,
A MINOR AND KEONTRAY CLEMONS, A MINOR;
AND ON BEHALF OF ALL WRONGFUL DEATH
BENEFICIARIES OF AUBREY ANNA CLEMONS,
DECEASED                                                                           PLAINTIFFS

VS.

THE UNITED STATES OF AMERICA                                                      DEFENDANT

            PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW


                                     FINDINGS OF FACT1

       1.      On June 27, 2009, Tiara Clemons was a 20 year old Native American female, and
               a citizen of the Choctaw Nation, residing in Choctaw, Neshoba County,
               Mississippi. On June 27, 2009, Tiara received a puncture wound near the top of
               her right scapula. At that time, Tiara Clemons was 30 weeks pregnant with
               Aubrey Clemons, a minor child. As a result of the wound, Tiara Clemons sought
               medical treatment for herself and her unborn child from the Choctaw Health
               Center located in Choctaw, Neshoba County, Mississippi.


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         Proposed Findings of Fact Nos. 1 - 28 have been stipulated between the parties, as set
forth in this Court’s Pre-Trial Order.

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  2.    At approximately 5:19 p.m., on June 27, 2009, Tiara Clemons was examined by
        Choctaw ambulance EMT's who responded to her call for assistance due to
        injuries received from a puncture wound to her back. She was examined, and her
        vital signs were stable. She was noted to be awake and alert, and sitting on the
        ground. Importantly, the Choctaw EMT noted that she had “bilateral breath
        sounds clear to auscultation”. Her wound was bandaged, and she was not bleeding
        externally. Tiara Clemons was given oxygen, and an IV was started on her left
        hand. In that condition, Tiara Clemons and her unborn child, Aubrey Anna
        Clemons, were transported to Choctaw Health Center, recognized by the
        Mississippi Department of Health as a Level IV Trauma Center.

  3.    Tiara and Aubrey Anna arrived at the Choctaw Health Center by ambulance at
        5:22 p.m. They were not seen, examined, or triaged until 5:42 p.m.

  4.    At 5:42 p.m., Jill Shaw, a family nurse practitioner, examined Tiara. Nurse Shaw
        noted that Tiara was 30 weeks pregnant with Aubrey Anna, and recorded Tiara’s
        pain at a “10" on a scale of 1 to 10, with 10 being the “most severe” pain. Nurse
        Shaw ordered laboratory tests on Tiara’s blood, a chest x-ray, and that a fetal
        monitor be placed on Tiara to monitor Aubrey Anna. At 5:42 p.m., Nurse Shaw
        obtained a blood pressure of 109/62.

  5.    At 5:45 p.m., Tiara and Aubrey Anna were examined by Dr. Guevarra, the ER
        doctor staffing the Choctaw Health Center Emergency Room. Dr. Guevarra noted
        that Tiara had received a stab would in the right scapula, and that by 5:45 p.m.,
        she had decreased breath sounds on the right upper fields. Dr. Guevarra ordered
        laboratory tests, and ordered that Tiara be given morphine for pain.

  6.    At 5:53 p.m., Tiara was taken to the radiology room very near the emergency
        room, where two chest x-rays were taken. The first x-ray was placed in the
        developer at 5:53 p.m. - the second at 5:57 p.m. These x-rays were available to be
        viewed by Dr. Guevarra in the emergency room no later than 6:00 p.m. By 6:10
        p.m. Dr. Guevarra had reviewed the x-rays and was aware of the internal bleeding.


  7.    The 5:53 p.m. and 5:57 p.m. chest x-rays revealed that Tiara had a large right
        pleural effusion, with unilateral pulmonary infiltrate in the right lung, a
        hemothorax on the right with a fifteen to twenty percent pneumothorax on the
        right. Upon viewing the x-ray, Dr. Guevarra diagnosed Tiara with a pneumothorax
        in her right lung, and that she was bleeding internally.

  8.    At 6:21 p.m., Dr. Guevarra received the result of the blood tests previously
        ordered. The results showed diminished hemoglobin and hematocrit levels. By
        6:40 p.m., Tiara had become hypotensive. Her blood pressure was recorded at


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        81/47.

  9.    Between 6:50 p.m. and 7:05 p.m. Dr. Guevarra attempted to arrange a transfer of
        Tiara to Anderson Medical Center in Meridian, Mississippi, by ground
        ambulance. Dr. Guevarra called Anderson Regional Medical Center in Meridian,
        Mississippi, located about 40 miles distance, about a transfer. However, the ER
        doctor at Anderson denied Dr. Guevarra’s request for transfer because Clemons
        was pregnant. Dr. Guevarra did not tell the doctor at Anderson that it was a life
        threatening situation regarding Clemons.

  10.   It was at least 6:50 p.m. when Dr. Guevarra began trying to have Clemons
        transported to medical facility with emergency services. Dr. Guevarra began this
        process after being urged by CHC nursing personnel and Choctaw EMS personnel
        to have Clemons transported to a hospital.

  11.   Todd Harrison, one of the Choctaw EMT/paramedics, told Dr. Guevarra that Tiara
        was not stable enough to transport by ground ambulance, and told her to call the
        AirCare dispatch and send a helicopter to transport Tiara to University Medical
        Center in Jackson, Mississippi, a Level I Trauma Center. Dr. Guevarra then called
        for the UMC AirCare helicopter to transport Tiara. Dr. Guevarra contacted UMC
        which dispatched a helicopter with EMT personnel. She did not relay that CHC
        had no blood nor ability to drain fluids from Clemons’ chest. She did not contact
        or try to transport Clemons to Neshoba County General Hospital, about 8 miles
        distance.

  12.   At approximately 7:00 p.m., Dr. Guevarra ordered another chest x-ray, which
        revealed a “massive” right hemothorax.

  13.   At 7:30 p.m., Tiara Clemons was assessed by the UMC AirCare EMT’s upon their
        arrival at the Choctaw Health Center. Upon assessment, Tiara was hypoxic,
        hypotensive, and worsening. Her blood pressure had fallen to 82/54, her oxygen
        saturation was at 86%, and her respirations were 36. The UMC EMT’s noted the
        massive hemothorax visualized on the chest x-ray. Tiara was gasping for breath,
        and no breath sounds could be heard on the right side of her chest. The UMC
        EMT’s requested that Dr. Guevarra perform a thoracostomy. EMT medical notes
        reflect that Dr. Guevarra repeatedly refused to insert a tube into Clemons’ chest to
        drain the blood despite requests by UMC EMT. Dr. Guevarra did not perform the
        procedure. The UMC EMT’s also requested that Dr. Guevarra give blood to Tiara
        Clemons. Dr. Guevarra did not order blood to be given, and informed that none
        was available at the Choctaw Health Center.

  14.   At approximately 7:30 p.m., the UMC EMT’s noted that there was a failure to
        protect Tiara’s airway, and intubated Tiara at 7:35 p.m. At 7:45 p.m., due to


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        observed cyanosis (turning blue), decreased breath sounds, severe shortness of
        breath, decreased cardiac output, low oxygen and oxygen saturation rates, the
        UMC EMT’s performed a needle thoracostomy on the right chest, which returned
        approximately 300 ml of air and blood.

  15.   At 8:09 p.m., the UMC AirCare EMT’s departed for UMC in the helicopter with
        Tiara and Aubrey Anna. Measured at 8:15 p.m. and 8:30 p.m., Tiara’s oxygen
        saturation level was 42%. By 8:40 p.m., Tiara’s oxygen saturation level had
        dropped so low that it was incapable of measurement, and was recorded as “0%”.

  16.   At 8:42 p.m., as the AirCare helicopter was approaching UMC, while over the VA
        Hospital, Tiara went into cardiac arrest. At 8:44 p.m., Advanced Cardiac Life
        Support protocols were employed by the EMT’s, including administration of
        atropine and epinephrine. From 8:44 p.m. until 8:54 p.m. cardiopulmonary
        resuscitation (CPR) was performed. At 8:45 p.m., the UMC EMT’s performed a
        needle thoracostomy to Tiara’s left chest, which returned 20 ml of air and blood.
        At 8:50 p.m., the UMC EMT’s delivered Tiara to the UMC emergency physicians.

  17.   At 8:50 p.m. - the UMC emergency physicians performed a thoracostomy and
        inserted bilateral chest tubes. The chest tube on the right returned 2400 - 2500
        cc’s of blood. A cardiac ultrasound was performed, which revealed no cardiac
        activity present in either Tiara or Aubrey Anna.

  18.   At 8:52 p.m., Aubrey Anna was delivered by emergency Caesarean section, but
        showed no signs of life. CPR was continued on Tiara Clemons. At 8:54 p.m.,
        another cardiac ultrasound was performed. With no cardiac activity noted, Tiara
        Clemons and Aubrey Anna Clemons were pronounced dead.

  19.   At all material times, Dr. Victoria Guevarra, Jill Shaw, FNP, and all other
        individuals who provided medical care and treatment to Tiara Clemons and
        Aubrey Anna Clemons were acting in the course and scope of their employment
        with the Choctaw Health Center, a healthcare facility owned and operated by, and
        located on property occupied by, the Mississippi Band of Choctaw Indians, in
        Choctaw, Mississippi.

  20.   The United States of America, Defendant, is statutorily and at common law
        responsible for the wrongful and negligent acts, if any, with respect to Tiara
        Clemons and Aubrey Anna Clemons which occurred at the Choctaw Health
        Center, located on property occupied by the Mississippi Band of Choctaw Indians,
        in Choctaw, Mississippi.

  21.   As the sole wrongful death beneficiaries of Tiara Clemons and Aubrey Anna
        Clemons, deceased, Elona Clemons and Keontray Clemons, by and through Kathy


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        Clemons and Bill Clemons, Guardians, are entitled to assert and prosecute a claim
        for damages arising out of the wrongful death of Tiara Clemons and Aubrey Anna
        Clemons.

  22.   The care rendered to Tiara and Aubrey Anna Clemons on June 27, 2009 did not
        comply with, and fell below, the standard of care applicable to the Choctaw
        Health Center, and Dr. Guevarra.

  23.   Dr. Guevarra and the Choctaw Health Center breached the applicable standard of
        care while rendering medical care and treatment to Tiara and Aubrey Anna
        Clemons. The breach of the standard of care included a failure to timely transfer
        Tiara and Aubrey Anna to a healthcare facility with additional treatment
        capabilities, and/or failing to insert a chest tube, i.e., perform a thoracostomy, to
        protect Tiara Clemons airway.

  24.   Had Tiara and Aubrey Anna Clemons received treatment at the Choctaw Health
        Center consistent with the applicable standard of care, i.e., timely transfer to a
        healthcare facility with additional treatment options available and/or insertion of a
        chest tube, both Tiara and Aubrey Anna Clemons would have survived intact.

  25.   The breaches of the standard of care of Dr. Guevarra and the Choctaw Health
        Center while rendering medical care and treatment to Tiara Clemons and Aubrey
        Anna Clemons were a proximate cause of the deaths of Tiara Clemons and
        Aubrey Anna Clemons.

  26.   On June 27, 2009, Tiara Clemons was stabbed by an individual, consistent with
        the notations in the medical records and autopsy report.

  27.   The medical expenses associated with Tiara Clemons and Aubrey Anna Clemons
        treatment at University Medical Center on June 27, 2009 and the funeral expenses
        of Tiara Clemons and Aubrey Anna Clemons were paid by the Mississippi Band
        of Choctaw Indians.

  28.   Subsequent to June 27, 2009, Dr. Guevarra was removed from staffing the
        emergency room at Choctaw Health Center as an emergency physician.

  29.   As a Trauma Center, the Choctaw Health Center is required to have a Trauma
        Team and Trauma Care Medical Director. On June 27, 2009, the Choctaw Health
        Center had no Trauma Care Medical Director, nor did it have a Trauma Team.

  30.   In April, 2009, Dr. Chandrashekhar Joshi, the Clinical Director of the Choctaw
        Health Center, sent a letter to Mr. Howard Billie, CEO of the Health Center,
        urgently pleading for assistance in the staffing and recruitment of competent


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        emergency room physicians, and expressing doubt about whether the Choctaw
        Health Center could continue to provide Level IV trauma service to the population
        it served due to its “chronic problems”. Dr. Joshi’s expressed apprehensions
        correctly characterized the poor level of care available at the Choctaw Health
        Center ER on June 27, 2009.

  31.   In May, 2009, Dr. Joshi again forwarded his concerns relative to the Choctaw
        Health Center’s “chronic problems” to Mr. Breedlove, the acting CEO of the
        Health Center, again urgently pleading for assistance improving the level of care
        available at the Health Center. Notwithstanding Dr. Joshi’s efforts, prior to the
        death of Tiara Clemons and Aubrey Anna Clemons on June 27, 2009, no material
        improvements were made in the level of care available at the Choctaw Health
        Center’s emergency room.

  32.   As a 30 week old fetus, Aubrey Anna Clemons was “quick in the womb”, was
        viable outside of the womb, and had an approximate 92% to 93% rate of intact
        survival, i.e., survival as a normal, healthy infant after delivery at 30 weeks
        maturity.

  33.   The economic damages sustained as a result of the death of Tiara Clemons and
        Aubrey Anna Clemons include lost earnings, household services, and medical and
        funeral expenses.

  34.   Had Tiara Clemons lived, she would have obtained a Two Year or Associates
        Degree, and earned wages commensurate with wages earned by others with a
        similar level of education.

  35.   The amount of Tiara Clemons’ lost earnings, discounted to present value, is
        $1,326,358. When the amount of such earnings which would have been personally
        consumed by Tiara Clemons in her lifetime is deducted from such amounts, the
        present value of the total discounted amount of Tiara Clemons’ lost earnings is
        $639,109.

  36.   The value of the loss of household services caused by Tiara Clemons’ death,
        discounted to present value, is $133,969.

  37.   The amount of the medical expenses associated with and reasonably incurred
        during the care and treatment of Tiara and Aubrey Anna Clemons during their last
        illness at University Medical Center is $33,734, including $4,528 in physician
        costs, and $29,206 in hospital expenses.

  38.   The amount of funeral expenses incurred in the funeral and burials of Tiara and
        Aubrey Anna Clemons is $4,014.


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  39.   Had Aubrey Anna Clemons lived, she would have obtained a Two Year or
        Associates Degree, and earned wages commensurate with wages earned by others
        with a similar level of education.

  40.   The amount of Aubrey Anna Clemons’ lost earnings, discounted to present value,
        is $1,104,685. When the amount of such earnings which would have been
        personally consumed by Aubrey Anna Clemons in her lifetime is deducted from
        such amounts, the present value of the total discounted amount of Aubrey Anna
        Clemons’ lost earnings is $773,280.

  41.   The value of the loss of household services caused by Aubrey Anna Clemons’
        death, discounted to present value, is $133,969.

  42.   The wrongful death beneficiaries of Tiara Clemons have sustained economic
        damages in the total present value amount of $810,826, as follows:

               Lost Earnings:        $     639,109
               Household Services:   $     133,969
               Medical Expenses:     $      33,734
               Funeral Expense:      $       4,014
                                     _______________
                                     $     810,826

  43.   The wrongful death beneficiaries of Aubrey Anna Clemons have sustained
        economic damages in the total present value amount of $907,249, as follows:

               Lost Earnings:      $     773,280
               Household Services: $     133,969
                                   _______________
                                   $     907,249

  44.   Tiara Clemons sustained conscious pain and suffering as a result of the breaches
        of the standard of care, and during her demise and death. The wrongful death
        beneficiaries of Tiara Clemons are entitled to an award of an amount in damages
        sufficient to compensate Tiara Clemons for the pain and suffering, in the amount
        of $______________________ (to be determined by the Court).

  45.   Aubrey Anna Clemons sustained conscious pain and suffering as a result of the
        breaches of the standard of care, and during her demise and death. The wrongful
        death beneficiaries of Aubrey Anna Clemons are entitled to an award of an
        amount in damages sufficient to compensate Aubrey Anna Clemons for the pain
        and suffering, in the amount of $______________________ (to be determined by


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        the Court).

  46.   Tiara Clemons sustained mental anguish and emotional distress as a result of the
        breaches of the standard of care, and during her demise and death. The wrongful
        death beneficiaries of Tiara Clemons are entitled to an award of an amount in
        damages sufficient to compensate Tiara Clemons for the mental anguish and
        emotional distress, in the amount of $______________________ (to be
        determined by the Court).


  47.   Aubrey Anna Clemons sustained mental anguish and emotional distress as a result
        of the breaches of the standard of care, and during her demise and death. The
        wrongful death beneficiaries of Aubrey Anna Clemons are entitled to an award of
        an amount in damages sufficient to compensate Aubrey Clemons for the mental
        anguish and emotional distress, in the amount of $______________________ (to
        be determined by the Court).

  48.   As a result of the breaches of the standard of care and her resulting death, Tiara
        Clemons sustained past and future loss of enjoyment of life, The wrongful death
        beneficiaries of Tiara Clemons are entitled to an award of an amount in damages
        sufficient to compensate Tiara Clemons for the past and future loss of enjoyment
        of life, in the amount of $______________________ (to be determined by the
        Court).

  49.   As a result of the breaches of the standard of care and her resulting death, Aubrey
        Anna Clemons sustained past and future loss of enjoyment of life, The wrongful
        death beneficiaries of Aubrey Anna Clemons are entitled to an award of an
        amount in damages sufficient to compensate Aubrey Anna Clemons for the past
        and future loss of enjoyment of life, in the amount of $______________________
        (to be determined by the Court).

  50.   As a result of the breaches of the standard of care and the resulting death of Tiara
        Clemons, her mother, Elona Clemons has sustained and will sustain past and
        future mental anguish and emotional distress. Elona Clemons, as a wrongful death
        beneficiary of Tiara Clemons, is entitled to an award of an amount in damages
        sufficient to compensate Elona Clemons for past and future mental anguish and
        emotional distress arising from the death of her mother, in the amount of
        $______________________ (to be determined by the Court).

  51.   As a result of the breaches of the standard of care and the resulting death of Tiara
        Clemons, his mother, Keontray Clemons has sustained and will sustain past and
        future mental anguish and emotional distress. Keontray Clemons, as a wrongful
        death beneficiary of Tiara Clemons, is entitled to an award of an amount in


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        damages sufficient to compensate Keontray Clemons for past and future mental
        anguish and emotional distress arising from the death of his mother, in the amount
        of $______________________ (to be determined by the Court).

  52.   As a result of the breaches of the standard of care and the resulting death of
        Aubrey Anna Clemons, her sister, Elona Clemons has sustained and will sustain
        past and future mental anguish and emotional distress. Elona Clemons, as a
        wrongful death beneficiary of Aubrey Anna Clemons, is entitled to an award of an
        amount in damages sufficient to compensate Elona Clemons for past and future
        mental anguish and emotional distress arising from the death of her sister, in the
        amount of $______________________ (to be determined by the Court).

  53.   As a result of the breaches of the standard of care and the resulting death of
        Aubrey Anna Clemons, his sister, Keontray Clemons has sustained and will
        sustain past and future mental anguish and emotional distress. Keontray Clemons,
        as a wrongful death beneficiary of Aubrey Anna Clemons, is entitled to an award
        of an amount in damages sufficient to compensate Keontray Clemons for past and
        future mental anguish and emotional distress arising from the death of his sister,
        in the amount of $______________________ (to be determined by the Court).

  54.   As a result of the breaches of the standard of care and the resulting death of Tiara
        Clemons, her mother, Elona Clemons has sustained and will sustain past and
        future loss of society and companionship of Tiara Clemons. Elona Clemons, as a
        wrongful death beneficiary of Tiara Clemons, is entitled to an award of an amount
        in damages sufficient to compensate Elona Clemons for past and future loss of
        society and companionship of Tiara Clemons arising from the death of her
        mother, in the amount of $______________________ (to be determined by the
        Court).

  55.   As a result of the breaches of the standard of care and the resulting death of Tiara
        Clemons, his mother, Keontray Clemons has sustained and will sustain past and
        future loss of society and companionship of Tiara Clemons. Keontray Clemons, as
        a wrongful death beneficiary of Tiara Clemons, is entitled to an award of an
        amount in damages sufficient to compensate Keontray Clemons for past and
        future loss of society and companionship of Tiara Clemons arising from the death
        of his mother, in the amount of $______________________ (to be determined by
        the Court).

  56.   As a result of the breaches of the standard of care and the resulting death of
        Aubrey Anna Clemons, her sister, Elona Clemons has sustained and will sustain
        past and future loss of society and companionship of Aubrey Anna Clemons.
        Elona Clemons, as a wrongful death beneficiary of Aubrey Anna Clemons, is
        entitled to an award of an amount in damages sufficient to compensate Elona


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              Clemons for past and future loss of society and companionship of Aubrey Anna
              Clemons arising from the death of her sister, in the amount of
              $______________________ (to be determined by the Court).

       57.    As a result of the breaches of the standard of care and the resulting death of
              Aubrey Anna Clemons, his sister, Keontray Clemons has sustained and will
              sustain past and future loss of society and companionship of Aubrey Anna
              Clemons. Keontray Clemons, as a wrongful death beneficiary of Aubrey Anna
              Clemons, is entitled to an award of an amount in damages sufficient to
              compensate Keontray Clemons for past and future loss of society and
              companionship of Aubrey Anna Clemons arising from the death of his sister, in
              the amount of $______________________ (to be determined by the Court).

                                CONCLUSIONS OF LAW2

       1.     At all material times, Dr. Victoria Guevarra, Jill Shaw, FNP, and all other
              individuals who provided medical care and treatment to Tiara Clemons and
              Aubrey Anna Clemons were acting in the course and scope of their employment
              with the Choctaw Health Center, a healthcare facility owned and operated by, and
              located on property occupied by, the Mississippi Band of Choctaw Indians, in
              Choctaw, Mississippi. [Stipulation No. 19].

       2.     The United States of America, Defendant, is statutorily and at common law
              responsible for the wrongful and negligent acts, if any, with respect to Tiara
              Clemons and Aubrey Anna Clemons which occurred at the Choctaw Health
              Center, located on property occupied by the Mississippi Band of Choctaw Indians,
              in Choctaw, Mississippi. [Stipulation No. 20].

       3.     As the sole wrongful death beneficiaries of Tiara Clemons and Aubrey Anna
              Clemons, deceased, Elona Clemons and Keontray Clemons, by and through Kathy
              Clemons and Bill Clemons, Guardians, are entitled to assert and prosecute a claim
              for damages arising out of the wrongful death of Tiara Clemons and Aubrey Anna
              Clemons. [Stipulation No. 21]

       4.     The care rendered to Tiara and Aubrey Anna Clemons on June 27, 2009 did not
              comply with, and fell below, the standard of care applicable to the Choctaw
              Health Center, and Dr. Guevarra. [Stipulation No. 22]

       5.     Dr. Guevarra and the Choctaw Health Center breached the applicable standard of
              care while rendering medical care and treatment to Tiara and Aubrey Anna


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        Conclusions of Law Nos. 1 - 7 have been stipulated, and are reproduced as they may
include mixed issues of fact and law.

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         Clemons. The breach of the standard of care included a failure to timely transfer
         Tiara and Aubrey Anna to a healthcare facility with additional treatment
         capabilities, and/or failing to insert a chest tube, i.e., perform a thoracostomy, to
         protect Tiara Clemons airway. [Stipulation No. 23]

   6.    Had Tiara and Aubrey Anna Clemons received treatment at the Choctaw Health
         Center consistent with the applicable standard of care, i.e., timely transfer to a
         healthcare facility with additional treatment options available and/or insertion of a
         chest tube, both Tiara and Aubrey Anna Clemons would have survived intact.
         [Stipulation No. 24]

   7.    The breaches of the standard of care of Dr. Guevarra and the Choctaw Health
         Center while rendering medical care and treatment to Tiara Clemons and Aubrey
         Anna Clemons were a proximate cause of the deaths of Tiara Clemons and
         Aubrey Anna Clemons. [Stipulation No. 25]

   8.    Pursuant to MISS. CODE ANN . § 85-5-7 (1972), no fault or responsibility for the
         death of Tiara Clemons or Aubrey Anna Clemons can be apportioned or assigned
         to Marena Clemons or any other intentional tortfeasor for purposes of reducing or
         mitigating liability attributable to Defendant for the deaths, or damages owed by
         Defendant to the wrongful death beneficiaries.

   9.    MISS. CODE ANN . § 11-1-60 (1972), which seeks to limit non-economic damages
         is inapplicable in this action to limit the non-economic damages to which the
         wrongful death beneficiaries of Tiara Clemons and Aubrey Anna Clemons are
         entitled. § 11-1-60 has been held unconstitutional, and unenforceable. Mary
         Carter, et al v. Interstate Realty Management Company, et al, op. at 14 (Coahoma
         County Circuit Court, Miss. Apr. 20, 2012).

   10.   That with respect to the claim for the wrongful death of Tiara Clemons, and the
         claim for the wrongful death of Aubrey Anna Clemons, proper Notices of Claim
         have been provided to Defendant United States of America pursuant to 28 U.S.C.
         § 1346(b) and/or 42 U.S.C. §233 (Federal Tort Claims Act); all administrative
         remedies have been exhausted by Plaintiffs, and; all conditions precedent to entry
         of judgment in favor of Plaintiffs have been satisfied.

   11.   Plaintiffs are entitled to entry of Judgment against the Defendant, United States of
         America, for the death of Tiara Clemons, in the amount of $810,826 in economic
         damages, and in the amount of $1,689,174 in non-economic damages, in a total
         amount of $2,500,000, the amount demanded in Plaintiff’s Notice of Claim.

   12.   Plaintiffs are entitled to entry of Judgment against the Defendant, United States of
         America, for the death of Aubrey Anna Clemons, in the amount of $907,249 in


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               economic damages, and in the amount of $1,592,751 in non-economic damages,
               in a total amount of $2,500,000, the amount demanded in Plaintiff’s Notice of
               Claim.


       Respectfully submitted, this the 30th day of April, 2012.


                                       DATED: April 30, 2012.

                                                        KATHY CLEMONS, PLAINTIFF

                                                        BY:______/s Michael T. Jaques_____
                                                              One of their Attorneys
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                                  CERTIFICATE OF SERVICE

       I, Michael T. Jaques, do hereby certify that on this, the 30th day of April, 2012, I

electronically filed the foregoing with the Clerk of the Court using the ECF system which sent

notification of such filing to all counsel of record.



                       THIS the 30th day of April, 2012.

                                                        _____Michael T. Jaques__
                                                              Michael T. Jaques




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